Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 1 of 16

WH Pooject HOE Poepaved Uy :Action Paralegal Pro Se
Helping Offenders as -—Law and ———
Mediators for rethtry ISTRIRS

FILED 7G

IN THE UNITED STATES DISTRICT COURT MAY 6» :2025
FOR THE WESTERN DISTRICT OF NEW YORK by
Wesrs LOEWENGUTH Xf
in re: Jeffrey Richards Case No. 19-GR-i06-JL RN DisTRICT OF

on
Compassionate Release

TRAVERSE IN RESPONSE TO THE GOVERNMENT'S RESPONSE
REQUESTING THE COURT DISMISS THE GOVERNMENT'S RESPONSE
FOR FAILURE TO CORRECTLY STATE THE FACTS OR PRECEDENT OF
THIS COURTS HOLDING ON ISSUES OF THE LAW

RELIEF REQUESTED: That the Court disiniss the governments reply for misconstruing facts

and failing to properly address court precedent, while misconstruing and mis-interpreting
both facts of this case and facts of caselaw.

RELEVANT FACS OF THIS TRAVERSE

1. The government confirms and agrees that "/tjo date, tine govermment has been uvabie to
locate any record of the warden denying the defendant's request (for compassionate release)
2. ‘The government lies and states that Mr. Richards has no "grounds (individually or
collectively) [to] [provide] support for his release. See Doc. 166 (pg. %) (government's

response) This completely contradicts the Courts holding in United States v. Parish,

No. 13 Cr. 829 (AT) 2024 U.S. Dist. LEXIS 151228 (August 22, 2024) In which the Second
Cirenit Honorabie Judge Analisa Torres pointed out at LEXIS 15 a MULTITUDE of compassionate
releases granted soleiy based on COVID - 19 HARDSHIP. We have included this cok XY,

‘the precedent in this court show clearly and unambiguousiy that the Second Circuit nolds
the effect of COVID-19 on incarceration as ["experiencing] the fuli gamut of pandemic-
related horrors," See LEXIS 14 ALSO EXHIBIT second page.

3. ‘Ihe government further lies and states that Mr. Richards was not incarcerated during
the COVID-19 pandemic. See Document 166 Filed 02/21/25 government stating: "The defendant
was sentenced on March 13, 2023, less thar: ong month before then-President Juseph Biden

ended the COVID-i9 national emergency’... This is also misconstruing when Mr. Richards

was atualiy incarcerated and an attempt to deceive the court by misrepresenting facts.

pe i
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 2 of 16

We. pulled Mr. Richards SENTENCE MONITORING COMPUTATION DA'TA AS UF 04-01-2025 and here

is what it stated for when Mr. Richards was ACIUALLY incarcerated:

~------------------------ CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 06-29-2023 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 03-16-2023 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010, 010 020

DATE COMPUTATION BEGAN..........: 09-22-2022

AGGREGATED SENTENCE PROCEDURE...: AGGREGATE GROUP 800 PLRA

TOTAL TERM IN EFFECT......-4ee ee 204 MONTHS

TOTAL TERM IN EFFECT CONVERTED..: 17 YEARS

AGGREGATED TERM OF SUPERVISION..: 5 YEARS

EARLIEST DATE OF OFFENSE........: 12-14-2018

JUATL CREDIT: os ve eww wewewne cee ae $ FROM DATE THRU DATE
12-14-2018 09-21-2022

As the Court can clearly see, Mr. Richards was incarcerated and received credit
for prison time from 12-14-2018 which would put him squarely in the pandemic of which

the Second Circuit in U.S. v. Parish calls "the full gamut of pandemic-related horrors”.

(LEXIS 14) ?

As to the effect of COVID-19 on incarceration, Parish has been incarcerated throughout the entirety
of the pandemic and has “experienced the full gamut of pandemic-related horrors," including
"extended lockdowns, constant fear of contracting a deadly virus, limited communication with family,
and reduced access to programming." Def. Mem. at 9.

4, . Petitioner contest that contrary to the AUSA analysis of Parish” only given a lenient
sentence by the Court because his "sentence would run concucrent;' (Doc 166 Pz. 10

second paragraph) in actuality, the Second Circuit clearly speakes to COVID-19 HARDSHIPS

The Court agrees with Parish that "the pandemic has made incarceration{2024 U.S. Dist. LEXIS 15}
harsher and more punitive than would otherwise have been the case." United States v. Tellier, No. 92
Cr. 869, 2022 U.S. Dist. LEXIS 84489, 2022 WL 1468381, at “4 (S.D.N.Y. May 10, 2022) (citation
omitted); see United States v. Rengifo, No. 09 Cr. 109, 569 F. Supp. 3d 180, 2021 WL 5027334, at
*14 (S.D.N.Y. Oct. 29, 2021) (finding that the "unanticipated severity" of lockdown conditions
"constitutes another circumstance that, in combination with other factors .. . , collectively amounts to
an extraordinary and compelling reason for early release"); United States v. Rodriguez, 492 F. Supp.
3d 306, 311 (S.D.N.Y. 2020) (holding that "the pandemic, aside from posing a threat to [defendant's]
health, has made [his] incarceration harsher and more punitive than would otherwise have been the
case," supporting a sentence reduction); United States v. McRae, No. 17 Cr. 643, 2021 U.S. Dist.
LEXIS 8777, 2021 WL 142277, at *5 (S.D.N.Y. Jan. 15, 2021) ("[A] day spent in prison under
extreme lockdown and in well-founded fear of contracting a once-in-a-century deadly virus exacts a
price on a prisoner beyond that imposed by an ordinary day in prison. Although such conditions are
not intended as punishment, incarceration in such circumstances is, unavoidably, experienced as
more punishing."); United States v. Djemal Nehmad, No. 16 Cr. 829, 2020 U.S. Dist. LEXIS 213883,
2020 WL 6719380, at *3 (S.D.N.Y. Nov. 16, 2020) (granting compassionate release in part because
defendant "ha[d] not seen any member of his family in four years"); United States v. Cardenas, No.
17 Cr. 339, 2021 U.S. Dist. LEXIS 158897, 2021 WL 3722761, at *2 (S.D.N.Y. Aug. 23, 2021)
(granting sentence reduction in 2021 where, due to pandemic-related restrictions, defendant "ha[d]
not seen his wife and young daughter since 2019"). we 3
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 3 of 16

Sia Tne AUSA erronously contests that Mr. Richards sentence was not increased for
acquitted conduct. However, Petitioner contest that in the ‘sentencing transcripts’

for his sentencing, the Court coneluded to Mr. Anderson that it was specifically giving
additional time due to the unadjudicated conduct for which he was not charged. In the
sentencing context, some commentators have objected that use of acquitted, or unadjudicated
conduct, that eniiances a sentence punishment...as did Mr. Richards sentence... violates

due process, and a number of courts have rejected the use of acquitted conduct or un-

adjudicated conduct to enhance sentences ori state law grounds. See CuZai

See, e.g., State v. Cote, 530 A.2d 775, 783-85 (N.H. 1987), reaffirmed in State v. Cobb,
732 A.2d 425, 442 (N.H. 1999); State v. Patterson, 673 N.E.2d 1001, 1005 (Ohio Ct. App. 1996);
People v. Wilkonson, 281 A.D.2d 373, 374 (N.Y. App. Div. 2001).

The AUSA does not contest that the court did increase Mr. Richards sentence because
of a device that the Court had not conclusively shown was an actuai bomb that would hurt
people. Mr. Richardson was not adjudicated on making a bomb. The court never charge him
for making a bomb so he was acquitted. For the Court to then increase his sentence on
the very conduct for which he was acquitted of wrong doing on sueh charges was collateral
estoppel. And even if it was not, the Court should not have enhanced his senterice where
the government had not proven the essential elements of the contention that he was making
a ‘bomb’ and what that 'bomb was meant tc occomplish', as speculation and conjecture has

no place in a sentencing by the facts. Jackson v. Virginia, 443 U.S. 307, 99 S, Ct.
2781, 61 L.Ed.2d 560 (1979) S€e@ ATTACH Ment) * FEDER PRasoN GUEDE BIR.

6. Petitioner contest that the AUSA has not addressed that a Compassionate Kelease
is not an ‘all or nothing’ conclusion. Without question. Courts in all the circuits have
granted reductions without giving defendants a ‘time served' ruling. ‘The Court in United

States v. Cunningham, Crim No. ELH-18-017 (4th Cir. Sept. 4, 2024) weli reasoned that

"the First Step Act “does not constrain the Court to decide between immediate release or
no reduction at all, and instead leaves the Ceurt discretion in its evaluation of the app-

riate sentence once it finds ‘extraordinary and compelling reasons.‘"’ United States v.
Braxton, JKB-09-478, 2020 U.S. Dist. LEXIS 147379 2020 WL 4/4853, at *5 (D. MD. Aug.17, 2020)"

Pe 3
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 4 of 16

ARGUMENT AND SUPPORTING CASELAW

COUNTER ARGUMENT I

PETITIONER DOES HAVE A
EXTRAORDINARY AND COMPELLING CASE

1. Mc. Richardson should qualify for an extraordinary and compelling reason according

to the clearly mandated legislation under §1B1.13 reduction terms under 18 U.S.C. §
3582(c)(1)(A) - OTHER REASONS which allow defendants io present any other circumstance
or combination of circumstances that, when considered by themseives or together with any

other reasons ...are similar in gravity to extraordinary and compelling circumstances
outlined in Compassionate Release.

2. The AUSA does not want the Court to use other cases because the AUSA says that

each case is different. But we disagree that the multitude of agreeable evidence in

caselaw coming out of the Second Circuit speaking to inmate hardship during COVID-19

as nothing to do with a ‘case-by-case’ analysis, but instead shows common Law of the

court. Further, the reason that we used Amerson had nothing to do with the case's ‘HEALTH'
issues as the AUSA alluded to, (see pg. 10 Doc. 166 filed 02/21/25 GOVERNMENT'S RESPONSE)
but rather to the Second Circuit's standing precedent for what qualifies a defendant to
be granted relief for a Covid-19 Pandemic induced hardship reduction, which Amerson Court
District Judge SEYBERT explained that "a day spent in prison under extreme lockdown and in
well-found fear of contracting a once-in-a-century deadiy virus exacts a price on a

prisoner beyond that imposed by an ordinary day in prison," and "particularly for de-

fendants wno lave (i) served long sentences and (ii) been detained for the entirety
Ciod® pandemic..." See: Sentercing Transcript Sept. 22, 2022 "T know it's a lorg time" by Jirkge Sinarta Jr.
3. . Defendant Richards quaiifies for District Judge SEYBERT's 'specific ground' for
relief because as SEYBERT states, Mr. Richards was:
(i) serving a long sentence. ~~~ See Sentencing Transcript pe 29 Judge Sinarta Jr.
(ii) detained for the entirety of the pandemic.

Other ‘Courts a priori also give clarity to this discussion, for example United

States v. Pinal-Maldonado, U.S. Dist, LEXIS 188459 (9th Cir. Oct 19, 2023) notes "the

Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page5of 16

Court cannot ignore the change in prison conditions that has resulted from Covid-19,
See United States v. Armstrong, No. 19-cr-5108-BAS-1, 2020 U.S. Dist LEXIS 135313 at *11
(S.D. Cal. July 30, 2020)

As this Court has previously explained:

The BOP has acknowledged that the operational modifications have placed a heavy burden
on inmates and their families. While much of the world has reverted to pre-pandemic normalcy,
life in BOP custody has not-if it ever will. "A day in prison under the current conditions is a
qualitatively different type of punishment than one day in prison used to be." See United States
v. Kibble, 992 F.3d 326, 335 (4th Cir. 2021) (Gregory, C.J., concurring). In an effort to keep
COVID-19 at bay, inmates are often isolated or placed in solitary confinement, prison programs
have been suspended or ended entirely, facilities have restricted visitation, and access to
nonessential medical care is often limited. See id. (collecting cases).Ortiz, 2023-U.S. Dist. LEXIS
31532, at *16.

4. Neither does the Second Circuit's precedent change in other cases on this issue
of experiencing COVID's “onerous lockdowms and restrictions imposed by correctional facil-
ities...made sentencing ‘harsher and more punitive than would otherwise have been the

case'" See U.S. v. Hatcher, No. 18-cr-454-KPF-10, 2021 U.S. Dist. LEXIS 74760, 2021 WL

1535310 at *3 (S.D.N.Y. Apr. 19, 2021); U.S. v. McRae, No. 17-CR-643-PAE, 2021 U.S. Dist.

LEXIS 8777, 2021 WL 142277, at *5 (S.D.N.Y. Jan. 15, 2021)(same); U.S. v. Ciprian, U.S.

Dist. LEXIS 18698 (2nd Cir. Feb. 1, 2021)(at LEXIS 34)(same and with a multitutde of
cases confirming COVID-19 Pandemic induced hardship is atypical and significant to constit-
ute extraordinary and compelling circumstances ... particularly for defendants who have

(i) served long sentences and (ii) been detained for the entirety of the pandemic. (quoting

Oquendo, 2023 U.S. Dist. LEXIS 8073, 2023 WL 199609, at *5.)

5. For these reasons the Court should disregard the AUSA's contentions that COVID-19
would not be a viable ground for Compassionate Release consideration alone or in combination
with other factors. Certainly it would not take a gigantic leap over a chasm of logic

to conclude that, yes, the Second Circuit precedent is in favore of acknowledging COVID-19
as a relevant factor for an inmate who experienced the full hardship of the deadly COVID-19
Pandemic. The Court should grant Petitioner at least some reduction for his hardship

he endured during COVID-19 because that would be in good following with the precedent
of the Second Circuit.

Pg 5
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 6 of 16
COUNTER ARGUMENT II

MR. RICHARDS SENTENCE WOULD BE LESS IF
CALCULATED TODAY BECAUSE HIS COUNSEL GAVE
INEFFECTIVE ASSISTANCE IN FAILING TO ADDRESS
THE COVID-19 PANDEMIC REDUCTION FOR HARDSHIP

1. In Petitioner's original argument, the Court could have liberally construed his
arguments of Compassionate Release to include ineffective assistance at a critical point
in his sentencing and a missed oppertunity due to trial counsels failure to provide Sixth
Amendment counsel on a COVID-19 Pandemic hardship created by the horrific conditions
created by the Pandemic in prisons. The Court should find particularly instructive

the Supreme Court's holding in United States v. Wade, Supra, 388 U.S. at 227, 87 S.

Ct. at 1932 holding that the doctrine of consultation at "critical" stages has been applied
to proceedings where important rights could be lost by an unknown defendant absence the
assistance of knowledgeable counsel. To state in a slightly different way, it has been
applied "at every stage of criminal proceeding where the substantial rights of a criminal

accused may be affected." Mempa v. Rhay, 389 U.S. 128, 134, 88 S. Ct. 254, 257, 19

L.Ed.2d 336 (1976).
2. We adress this issue because the AUSA has brought up at pg. 11 of Doc 166 Gov.
Response filed 02/21/25 that Mr. Richards sentence would "be the same today" if he were
sentenced. In light of the fact that he was not given any credit or reduction of a sentence
for the COVID-19 harshness of prison during that time, in step with what the Second Circuit
has clearly stated about the environment of prison being ...in the Second Circuit's ow
words, "more punishing" McRae, No. 17-cr-643-PAE LEXIS 8777 WL 142277 at, *5; “harsher
and more punitive than would otherwise have been the case", Hatcher, No. 18-cr-454-KPF-10
WL 1535310, at *3; "extreme lockdown" and "fear of contracting a deadly virus" McRae,

WL 142277, at *5; see also Otero, (2nd Cir, Mar. 29, 2023)LEXIS 54293 at LEXIS 34 (same)
we feel that had Mr. Richardson's lawyer been effective, Mr, Richardson would have been

granted an appropriate reduction, and because the Court did not award him such relief

then, the Court should take the oppertunity under equal protection of the Law to grant

a partial reduction as in U.S. v. Zullo, 976 F.3d 228, 327 (2d Cir. 2020)("it bears

. . 2 . : tf
remembering that compassionate release is a misnomer.j.a...court could...reduce...sentence")

pg 6
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 7 of 16

AUSA STATES PETITIONER'S SENTENCE IS NOT
UNREASONABLY LONG BUT AFTER EVALUATING

GROBER COURTS CLEARLY DISAGREE

3. The conclusion by the AUSA that Petitioner's sentence is not unusually long is
at least not supported by the Grober, court which answers the question of ‘substantial
sentence’ by concluding that "[a] sentence of five years is a substantial sentence.
Five years is not a slap on the wrist: it is 260 weeks, 1825 days. Anyone who thinks
five years of incarceration is a slap on the wrist has not visited a federal prison
lately." 595 F. Supp. 2d 412 LEXIS 103392 at LEXIS 84 (3rd Cir. Dec. 22, 2008) Under
this analogy we wonder what the Grober court would say about 17 years which is over 1000
weeks and 6,205 days of incarceration, costing tax payers $769,420.00.

We do not think it would be a gigantic leap over a chasm of logic to conclude
that 17 years is a very long time and an extremely harsh sentence for a first time
offender who is a father of a very young child he will never see growing up.

For this reason we ask the Court to disregard the AUSA's argument on Petitioner's time
not being ‘harsh’, during Covid-19 Pandemic incarceration.

RELIEF REQUESTED: Either alone or combined with other factors, the Court should grant

Petitioner the same relief it has granted other Covid-19 survivors of prison which the

Amerson Court has stated using United States v. McRae, No. 17-CR-0643, 2021 U.S. Dist.

LEXIS 8777, 2021 WL 142277, at *5 (S.D.N.Y. Jan. 15, 2021) that a once-in-a-century deadly
virus exacts a price on a prisoner beyond that imposed by an ordinary day in prison. And
hence, "detention during the pandemic is ‘essentially the equivalent of either time and a

half or two times what would ordinarily be served'". Id. (citing United States v. Elias,

579 F. Supp. 3d 374, 378 (E.D.N.Y. 2022). See same in U.S. v. Martinez, (10th Cir. July 18,

2023) LEXIS 123128. (quoting U.S. v. Valencia-Lopez, No. 05-CR-841 (NGG), 2022 U.S. Dist.

LFXIS 11461, 2022 WL 198604, at “3 (E.D.N.Y. Jan. 21, 2022)).

pe 7
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 8 of 16

COUNTER ARGUMENT IIT

UNDER JOHNSON HOLDING A SENTENCE
REDUCTION FOR ACQUITTED CONDUCT
WOULD BE APPROPRIATE AND THEREFORE
WARRANTS EXTRAORDINARY AND COMPELLING
REASONS FOR A SENTENCE ADJUSTMENT

Issue

The Court applied an upward varience to Mr. Richards sentence for what the
Court felt was a device meant to injure people, however, Mr. Richards was not
convicted for making a weapon of mass distruction or a weapon or bomb.

the Court acknowledged that "experts dispute" that the device could be used
to hurt anyone. See Pg. 28 Sentencing Transcript Sept. 22, 2022.

Mr. Richards was not given proper due process because the evidence that Mr.
Richards was making a ‘bomb’ that would hurt people was never proven by

clear and convincing evidence and that charge was clearly:. different conduct

then his charge for drugs, thus, it falls under acquitted conduct, not relevent
conduct to the drug charge, and under dohnson, No. 96-cr-932 the Second Circuit
has now stated that acquitted conduct is firmly disfavored. The AUSA opposes

Mr. Richards request for a sentence reduction because the court unfairly departed

upward on his sentence for acquitted conduct of an ‘alleged home-made bomb",
however the Johnson precedent is in Mr. Richards favore for a reduction of

his sentence.

Summary of the Facts
The narrow issue here is whether the Second Circuit and the trial court correctly
applied an upward departure for a "home-made bomb' which experts contended was not even
a device that could’have been detonated. The Corpus Delecti of a charge to convice on
weapons of mass distruction or a weapon to hurt people must include where the bomb was
built, what was used to make the bomb, who it was meant to hurt, and what clear and con-
Vincing proof the Court has that there was a mens rea to both make a weapon that worked

and who that weapon was meant to injures None of these critical facts were covered at

Mr. Kihards sentencing, and the Court agreed and admitted that ‘experts’ disagree on the

evidence to convict a crime.

pg 8
Case 1:19-cr-00106-JLS-MJR Document169 _ Filed 05/06/25 Page 9 of 16

Considering that the Court has determined in U.S. v. Johnson, Case No. 96-cr-932

LEXIS 189175 (2nd Cir. Oct. 17, 2024) by Senior District Judge BLOCK that the practice
of sentencing defendants based on acquitted conduct is now firmly disfavored, Petitioner
Richardson would and should fall under the extraordinary and compeiiing circumstances

to consider a reduction in his sentence for the upward varience of conduct he was

not found guilty of that had no relation to his drug charge conduct but was seperate
conduct of allegedly making a bomb that couid hurt people yet contested by experts as
not convictable conduct because of lack of sufficiency of the evidence to convict and

thus acquitted conduct.

Precedent and Authority
The Second Circuit Senior District Judge BLOCK has stated in Johnson, 96-cr-932
that the practice of sentencing defendants based on acquitted conduct is firmly disfavored

see McClinton v. United States, 143 S. Ct. 2400, 2401, 246 L.Ed.2d 1258 (2023)(Sotomayor,

J., “respecting the denial of certiorari"). 6 “As many jurists have noted, the use of
acquitted conduct to increase a defendant's Sentencing Guidelines range raises important
questions that go to the fairness and perceived fairness of the criminal justice system."
Id. at 2401 & n.2 (collecting cases).7 In recently promulgated sentencing guideline amend-
ments, the U.S. Sentencing Commission explained that acquitted conduct ought not be con-
sidered in caiculating a defendant's guideline range. See U.S. Sentencing Comm'n, Amend-
ments to the Sentencing Guidelines (Apr. 30, 2024 ) (amended § 181.3: "Acquitted Conduct.

~ Relevant conduct does not include conduct for which the defendant was criminaily charged:
and acquitted in federal court, uniess such conduct also establishes, in whole or in part,

the instant offense of conviction'’).8

RELIEF REQUESTED
Petitioner snould be granted extraordinary and compeiiing reasons for the upward

departure of his sentence on acquitted/non-adjudicated conduct not assossiated with the

other charges.

pg 9
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 10 of 16

CONCLUSION

The Court should disregard the AUSA contentions in it's reply brief because the
facts clearly weigh in favor of Mr. Richards extraordinary and compelling reasons for
either a sentence reduction or a granting of a speciai condition that he be able to
spend the remainder of his time on home confinement or a compassionate release of hiss
Seitence to time served. Mr. Richards should be granted the same due process as other
people who were granted similar compassionate releases on COVID-19 Pandemic induced hardship
and he should be considered for a reduction in his sentence per the holding in both the

Senior District Judge BLOCK's holding and Supreme Court precedent in McClinton.

FURTHER YOUR AFFIANT SAYETH NOT

oly AA : W251 2025

Jeffrey Richards 1Ds28478-055
FCI-Miian 2.0. Box 1000
Milan, Mi - 48160

NOTICE OF SERVICE

I, Jeffrey Richards, duly sworn and writing pro se, state that f sent this response
to the Court Clerk at:

Robert H. Jackson Courthouse Interested parties:
Z Niagara Square, Room 200 ~ AUSA
Buffalo, NY - 14202 U.S. Attorney's Office

Western District of New York
138 Delaware Ave.
Buffalo, New York - 14202

Louis Violanti

and Joei |
U.S. Attorney

Acting

-Jefirey Richards

iD: 28478-055 :
FCI-Milan - P.O. Box 100
Milan, MI - 48160

pg 10
Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 11 of 16

USA v Jeffrey Richards - Proceedings - 9/22/22 28

device, so there is no confusion about the import of the plea.

But I am relying on the reports that I cited earlier,
and paragraphs 18, 21, and 24 of the presentence report.

Regarding the facts of what actually occurred, and
what was found, and what actually this device was, how it was
made, and why it was made -- and again, 18, 21, and 24 are the
paragraphs.

And there is also both of the competing expert
reports, if you will. Maybe this was a device that wasn't
capable of exploding and hurting as many people as perhaps was
intended.

But the way I look at the facts here, Mr. Richards was
making this device with some malicious intent to have it hurt
people.

Whether he got it right or whether he got it wrong, I
don't know. The experts dispute that. But he certainly, in my
judgment, had the intent to build something that was going to
hurt people.

So that's one of the reasons, plus the proximity of
the weapons in the apartment, plus -- in paragraph 24, he's at
the post-Miranda stage, admitting to selling cocaine to support
his drug addiction. So I think all of those factors together
support the upward variance.

I have taken into account your personal history and

characteristics. In particular, I've considered your struggles

Case 1:19-cr-00106-JLS-MJR Document169 Filed 05/06/25 Page 12 0f16°"""

MILFE 540*23 * SENTENCE MONITORING © * 04-01-2025
PAGE 002 * COMPUTATION DATA * 14:03:57
AS OF 04-01-2025

REGNO..: 28478-055 NAME: RICHARDS, JEFFREY

---------2--------------- CURRENT OBLIGATION NO: 020 ---------------~-----------
OFFENSE CODE....: 130 18:924(C) FIREARMS LAWS FSA INELIGIBLE
OFF/CHG: 18:924(C) (1) (A) (I) POSSESSION OF A FIREARM IN FURTHERANCE OF

A DRUG TRAFFICKING CRIME CT.1,2

SENTENCE PROCEDURE.......e+--- + 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 60 MONTHS
TERM OF SUPERVISION.......-+.--- : 3 YEARS
RELATIONSHIP OF THIS OBLIGATION

TO OTHERS FOR THE OFFENDER....: CS TO 010,010,010
DATE OF OFFENSE..... ‘Veen wee eed 12-14-2018

~------------------------ CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 06-29-2023 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 03-16-2023 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010, 010.020

DATE COMPUTATION BEGAN..........3 09-22-2022

AGGREGATED SENTENCE PROCEDURE...: AGGREGATE GROUP 800 PLRA
TOTAL TERM IN EFFECT. .....0 620002 204 MONTHS

TOTAL TERM IN EFFECT CONVERTED..: 17 YEARS

AGGREGATED TERM OF SUPERVISION..: 5 YEARS

FARLIEST DATE OF OFFENSE........: 12-14-2018

JAIL CREDIT... eee eee ee ee eee : FROM DATE THRU DATE

12-14-2018 09-21-2022

G0002 MORE PAGES TO FOLLOW
24

25

Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page 13 of 16

USA v Jeffrey Richards - Proceedings - 9/22/22 29

with your mental health from a young age.

I'm imposing a condition related to mental health
treatment that I hope will assist you in keeping your mental
health stable.

I've imposed a substance abuse treatment condition as
well, based on your history of substance abuse, and which as you
acknowledged, led to these charges.

I hope that upon release you are able to stay away
from the heavy drug lifestyle that got you into this trouble.

I've taken into account -- and I really have taken
into account that you have no prior criminal history.

I've considered your acceptance of responsibility and
your stated goal to be a father to your young son. I encourage
you to move past these offenses, so you can be there for him now
and in the future, upon your return. I know it's a long time.

I'm imposing a term of supervised release with special
conditions. This is intended to help you return to society
after your incarceration.

I also will allow the U.S. Probation Office -- and
this condition will -- the supervised release term will allow
the probation office to monitor your activities to ensure that
you don't engage in further illegal activity.

In sum, based on the advisory guidelines, the
positions of the parties, my review of the statutory sentencing

factors, and my consideration of all other facts and

Case 1:19-cr-00106-JLS-MJR Document169_ Filed 05/06/25 Page f 16

50 |S KRKAc AEH CG, _Federal Prison Guidebook

Federal Se

Cir, 2009) or even clear and convincing evidence, see United States v. Staten, 466 Indeed, s
F-3d 708 (9th Cir. 2006) (higher standard required where sentencing factor has any between still
_ extremely disproportionate effect on ultimate sentence), that is not necessarily cor- - and Booker s
rect despite the fact that the guidelines are no longer mandatory. [T]he :
It is important to remember that the whole business about preponderance of the determine
evidence sufficing for purposes of applying the guidelines is entirely a creation of constitutio;
the US, Sentencing Commission, and not of common Jaw being deter
policy statement at U.S.S.G §6A1. 3 sets forth that “[t]he Commission believes that not by a ju:
use of a preponderance of the evidence standard is appropriate to meet due highlighted

process requirements and policy concerns in resolving disputes regarding ap-
plication of the guidelines to the facts of a case.” (Emphasis added.)

As Justice Thomas noted in his partial concurrence (to the constitutional
opinion) and dissent (to the remedial opinion) in Booker, there is also _a,due
process, component. to. the Court’ s constitutional opinion:

aby i aN sy RH

sentences b
standing th:
Constitutio1
defendant o
able doubt.

'. The Court’s holding today. corrects [the Commission’ s] mistaken belief

n United States
[that a preponderance... of the.evidence, standard, apprLopne te to. meet “due /

Concurring) (¢
Judge Ger

GION Ca So meet

process requirements]. Te. Fifth, Amendment requires proof b beyond q reason-

able doubt, not by a preponderance 0 of of the 1e evidence, “of any fa fact, that, t that increases ublished opit
the sentence beyond, what could have been Jawfully imposed on t n the, bai basis of aps best artic

rey Al tag Pape

facts 1 found by the j > Jury or admitted by. the ‘defendant,

. We
3 (Booker, 543 U.S. at 319 n.6 (Thomas, J., concurrence in part, dissent in part esullt, few p
(emphasis added).) € critically

In fact, the commentary at U.S.S.G §6A1.3 was not even part of the origi
1987 guidelines but only was promulgated much later in 1991. (See U.S.S.G AP rocess req
C., Amend. 387.) The commission itself apparently was indecisive as to whe | amely, proc

to include such a standard, let alone whether a preponderance of the evidence ¢
ported with the Fifth Amendment. In perhaps the seminal law review article 00 2
foundation of the guidelines, the commission’s first chairman, former Fourth
cuit Court of Appeals Chief Judge William W. Wilkins, Jr., and former 8°
counsel (and later vice chair of the commission), John R. Steer, noted in Rele’)

Conduct: The Cornerstone of the Federal Sentencing Guidelines (Al S. C.L. Bam
495 (1990)), that “[nJeither the Sentencing Reform Act nor the Guidelines
al explicitly address these issues [of evidentiary standards].” (Id. at 518. ) Rey
on now-overruled authority, they wrote that:

Pre-guidelines pronouncements by the United States Supreme Court

_ other courts indicate that a preponderance of the evidence standard co™
with fifth amendment due process requirements when sentencing fa
including those within the ambit of Relevant Conduct, are contested.

(Id. at 518-19 (footnotes omitted).) Again, as Justice Thomas recognize
reasoning no longer is constitutional.

158
Case 1:19-cr-00106-JLS-MJR _Docurtfent169 Filed 05/06/25 Page 15 of 16

Cow vert

UNITED STATES OF AMERICA -against- WALTER JOHNSON, Defendant.
UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK —
2024 U.S. Dist. LEXIS 189175
Case No. 96-CR-932 (FB)
October 16, 2024, Decided
October 17, 2024, Filed

Editorial Information: Prior History 1
8

United States v. Johnson, 1998 U.S. Dist. LEXIS 7537 (E.D.N.Y., May 20, 1998) SV.

Counsel {2024 U.S. Dist. LEXIS 1}For the Government: BREON PEACI:,

AMANDA SHAMI, U.S. Attorney's Office, Eastern District of New York, Brooklyn, New York.
For the Defendant: MIA EISNER-GRYNBERG, Federal
Defenders of New York, Brooklyn, New York.
Judges: FREDERIC BLOCK, Senior United States District Judge.

Opinion
Opinion by: FREDERIC BLOCK
Opinion
lu,
A.
MEMORANDUM AND ORDER ' andy
BLOCK, Senior District Judge: 4o

Pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A), Walter Johnson ("Johnson") moves for a i
sentence reduction and immediate release. For the following reasons, his petition is GRANTED and
his sentence reduced to time served.

The practice of sentencing defendants based on acquitted conduct is now firmly disfavored. See
McClinton v. United States, 143 S. Ct. 2400, 2401, 216 L. Ed. 2d 4258 (2023) (Sotomayor, diss
"respecting the denial of certiorari").6 "As many jurists have noted, the use of acquitted conduct to
increase a defendant's Sentencing Guidelines range raises important questions that go to the
fairness and perceived fairness of the criminal justice system." /d. at 2401 & n.2 (collecting cases).7
In recently promulgated sentencing guideline amendments, the U.S. Sentencing Commission
explained that acquitted conduct ought not be considered in calculating a defendant's guideline
range. See U.S. Sentencing Comm'n, Amendments to the Sentencing Guidelines (Apr. 30, 2024)
(amended § 1B1.3: "Acquitted Conduct. - Relevant conduct does not include conduct for which the
defendant was criminally charged and acquitted in federal court, unless such conduct also
establishes, in whole or in part, the instant offense{2024 U.S. Dist. LEXIS 42} of conviction").8

DISHOT 1

ACT® WorkKeys® Currict
Dece ae Kiclwocadl S Case 1:19-cr-00106-JLS-MJR Document169 _ Filed 05/06/25 .Page 16 pt

ere HWY TP -os5
Fes - Mrlaw “6: Wax tooo
INS NG pe “VIGO

FOREVER USA
LUVAH HT

LUVAIH A1dB..

LUVAIH ATdy

FOREVER USA

LUVAH ATdUndsE

19 - UL- ldo

Dive CN Se Gn
Vers ire ee ea Creucd \nnwse
A Aba gaco 23 mace, (Coon 2099
RSE AS ceca eo
M4 DoS:

